UNITED STATES DISTRICT COURT
                                                          USDC SDNY
SOUTHERN DISTRICT OF NEW YORK
                                                          DOCUMENT
                                                          ELECTRONICALLY FILED
 CANDICE MCCRARY,
                                                          DOC #:
                                Plaintiff,                DATE FILED: 3/21/2025

                    -against-

 SEAN COMBS, DADDY’S HOUSE                                       24-cv-8054 (MKV)
 RECORDING INC., CE OPCO, LLC, BAD
 BOY ENTERTAINMENT HOLDINGS,                                  ORDER DENYING
 INC., BAD BOY PRODUCTIONS                                       MOTIONS
 HOLDINGS, INC., BAD BOY BOOKS                            TO APPEAR PRO HAC VICE
 HOLDINGS, INC., BAD BOY RECORDS                             AND TO WITHDRAW
 LLC, BAD BOY ENTERTAINMENT LLC,
 BAD BOY PRODUCTIONS LLC,
 MARRIOTT INTERNATIONAL, INC.,
 ORGANIZATIONAL DOES 1-10,

                                Defendants.

MARY KAY VYSKOCIL, United States District Judge:

       Plaintiff’s counsel Anthony G. Buzbee has filed a motion to appear in this action pro hac

vice [ECF No. 51] in response to an Order of this Court [ECF No. 47]. Mr. Buzbee had previously

improperly filed numerous actions in this Court and scores of submissions in this case and other

cases, using the ECF credentials of another attorney, without having even applied for regular or

pro hac vice admission to the United States District Court for the Southern District of New York

[see ECF No. 39]. In the interim, Mr. Buzbee applied for admission to the Southern District;

however, as he now acknowledges, on February 13, 2025, the Committee on Grievances of this

Court denied his belated application for regular admission on the basis that he had appeared in

cases without seeking admission. M-2-238 [ECF No. 4]. Mr. Buzbee attached the Order of the

Grievance Committee to his pro hac application in this case as the Grievance Committee Order

directed him to do [ECF No. 51-6]. Also accompanying the pro hac motion was an undated

affidavit of an attorney Mr. Buzbee calls local counsel, Antigoe Curis, attesting that “I am advised
by Mr. Buzbee that he has never been censured, suspended, disbarred or denied admission or

readmission by any court” [ECF No. 51-1 ¶ 5 (emphasis added)].

          Thereafter, Defendants filed an opposition to Mr. Buzbee’s application for pro hac

admission in connection with this case, relying in part on the Order of the Grievance Committee

denying him admission to practice in the Southern District of New York and on Mr. Buzbee’s

practice of filing cases and making submissions in cases without being admitted and otherwise

failing to abide by the Local Rules of this Court and ethical guidelines [ECF No. 54]. Local

counsel has now advised the Court that “Plaintiff’s motion for Anthony G. Buzbee, Esq. to appear

in this action pro hac vice is formally being withdrawn” [ECF No. 75]. As such, the motion for

admission pro hac vice is DENIED as moot.

          Mr. Buzbee also submitted, through local counsel, a motion to “withdraw his appearance

as an attorney of record until such time as he is admitted to practice in this Honorable District”

[ECF No. 74 (emphasis added)]. However, Mr. Buzbee never filed an appearance in this action.

Rather, as stated above, Mr. Buzbee improperly filed and litigated this case using the ECF

credentials of local counsel, whose apparent complicity in his improper conduct may be grounds

for sanctions. As such, the motion to withdraw is DENIED.

          Plaintiff’s counsel is on notice that further failure to comply with the procedural rules

that govern this Court and her ethical responsibilities will have grave consequences.

          The Clerk of Court respectfully is requested to terminate the motion at docket entries 51

and 74.

SO ORDERED.
                                                      _________________________________
Date: March 21, 2025                                  MARY KAY VYSKOCIL
      New York, NY                                    United States District Judge




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